      Case 1:04-cv-01991-RMU Document 137 Filed 12/08/11 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

BARBARA J. WALKER,               :
                                 :
              Plaintiff,         :                 Civil Action No.:     04-1991 (RMU)
                                 :
              v.                 :                 Re Document Nos.:     117, 119, 135
                                 :
PHARMACEUTICAL RESEARCH AND :
MANUFACTURERS OF AMERICA et al., :
                                 :
              Defendants.        :

                                         ORDER

     GRANTING DEFENDANT NEW YORK LIFE’S MOTION FOR SUMMARY JUDGMENT;
     GRANTING THE INDIVIDUAL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT;
        DENYING THE PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT

     It is this 8th day of December, 2011 hereby

     ORDERED that defendant New York Life’s motion for summary judgment is

GRANTED;

     FURTHER ORDERED that the individual defendants’ motion for summary judgment is

GRANTED;

     ORDERED that the plaintiff’s cross-motion for summary judgment is DENIED.

     SO ORDERED.



                                                    RICARDO M. URBINA
                                                   United States District Judge
